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                                 JJHCS APPENDIX B IN SUPPORT OF MOTION TO SEAL
                  PORTIONS OF MOTION TO COMPEL PRE-APRIL 2016 DISCOVERY (ECF NOS. 350, 354, & 361)

                                                                            Clearly
                                                  Basis for Sealing                         Why a Less
                                                                         Defined and                          Prior         Party in
                                                    (Legitimate                             Restrictive
                                                                            Serious                           Order       Opposition to
                                                  Private or Public                        Alternative to
           Material/Title of Document                                    Injury That                        Sealing the    Sealing, if
                                                   Interests That                            the Relief
                                                                        Would Result                          Same         Any, and
                                                    Warrant the                            Sought Is Not
                                                                        if Relief Were                       Materials       Basis
                                                       Relief)                               Available
                                                                         Not Granted

                                                  JJHCS requests        If filed on the    JJHCS requests None            None
 Letter from E. Evans Wohlforth, Jr. Esq. in      the redaction of      public docket,     the sealing of
 Opposition to Plaintiff Johnson & Johnson        information      in   these portions     only           the
   Health Care Systems Inc.’s Motion to           and exhibits to the   of the August      information that
  Compel Pre-April 2016 Discovery, dated          August 22 letter      22 letter would    will        reveal
              August 22, 2024                     that is not known     reveal             confidential
               (ECF No. 354)                      to the general        confidential       information that
                                                  public and which      material           is not known to
 Pages 3-4          Various         redactions    the parties agreed    relating to        the        general
                    discussing     confidential   to             keep   JJHCS’s            public. No less
                    exhibits                      confidential.         sensitive          restrictive
                                                  JJHCS maintains       business           alternative      is
 Exhibits 4, 7,     Sealing of emails and         that          these   information.       available       or
 &8                 attachments related to        documents       and                      practicable.
                    confidential       business   exhibits contain      Disclosure of
                    information and strategy      sensitive business    this
                                                  information.          confidential
                                                                        and proprietary
                                                                        information to
                                                                        the      public
                                                                        would cause
                                                                        irreparable
                                                                        harm to JJHCS
                                                                        because       it
                                                                        would     place


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                                                                     Clearly
                                            Basis for Sealing                        Why a Less
                                                                  Defined and                           Prior         Party in
                                              (Legitimate                            Restrictive
                                                                     Serious                            Order       Opposition to
                                            Private or Public                       Alternative to
         Material/Title of Document                               Injury That                         Sealing the    Sealing, if
                                             Interests That                           the Relief
                                                                 Would Result                           Same         Any, and
                                              Warrant the                           Sought Is Not
                                                                 if Relief Were                        Materials       Basis
                                                 Relief)                              Available
                                                                  Not Granted

                                                                 JJHCS at a
                                                                 competitive
                                                                 disadvantage if
                                                                 its competitors
                                                                 secured     the
                                                                 information.

                                            JJHCS requests       If filed on the   JJHCS requests     None          None
Letter from Jeffrey J. Greenbaum in reply   the redaction of     public docket,    the sealing of
  to Motion to Compel Pre-April 2016        information and      these portions    only the
    Discovery, dated August 29, 2024        discussion in the    of the August     information that
             (ECF No. 361)                  August 29 letter     29 letter would   will reveal
                                            that is not known    reveal            confidential
Page 4           Redactions discussing      to the general       confidential      information that
                 confidential exhibits      public and which     material          is not known to
                                            the parties agreed   relating to       the general
                                            to keep              JJHCS’s           public. No less
                                            confidential.        sensitive         restrictive
                                            JJHCS maintains      business          alternative is
                                            that this            information.      available or
                                            discussion and                         practicable.
                                            exhibits contain     Disclosure of
                                            sensitive business   this
                                            information.         confidential
                                                                 and proprietary


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                                                     Clearly
                             Basis for Sealing                      Why a Less
                                                  Defined and                         Prior         Party in
                               (Legitimate                          Restrictive
                                                     Serious                          Order       Opposition to
                             Private or Public                     Alternative to
Material/Title of Document                        Injury That                       Sealing the    Sealing, if
                              Interests That                         the Relief
                                                 Would Result                         Same         Any, and
                               Warrant the                         Sought Is Not
                                                 if Relief Were                      Materials       Basis
                                  Relief)                            Available
                                                  Not Granted

                                                 information to
                                                 the public
                                                 would cause
                                                 irreparable
                                                 harm to JJHCS
                                                 because it
                                                 would place
                                                 JJHCS at a
                                                 competitive
                                                 disadvantage if
                                                 its competitors
                                                 secured the
                                                 information.




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